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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              WILMINGTON DIVISION

IN RE:                                               )
                                                     )
PORTERS NECK COUNTRY CLUB, INC.                      )        Case No. 19-004309-5-JNC
                                                     )
           Debtor.                                   )        Chapter 11
                                                     )

       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

        Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney
for the above-referenced debtor and that compensation paid to me within one year before the filing
of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered
on behalf of the debtor in contemplation of or in connection with the bankruptcy case is as follows:

1.     For legal services, I have agreed to accept                    $Amount unknown
       (To be determined by the Court)

       Prior to filing this statement, I have received                 $52,045.10

       In addition, I am holding in trust for                         $29,477.25
       attorney’s fees/expenses

       Balance Due                                                    $Amount unknown
       (To be determined by the Court)

2.     The source of compensation paid to me is:
       [X] Debtor                 [ ] Other (specify)


3.     The source of compensation to be paid to me is:
       [ X] Debtor                [ ] Other (specify)

4.     [ X ] I have not agreed to share the above-disclosed compensation with any other person
unless they are members and associates of my law firm.

       [ ] I have agreed to share the above-disclosed compensation with a person or persons who
are not members or associates of my law firm. A copy of the agreement, together with a list of
the names of the people sharing in the compensation, is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects
of the bankruptcy case, including:
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a)      Analysis of the debtor’s financial situation, and rendering advice and assistance to the
        debtor in determining whether to file a petition under Title 11, United States Code;

b)      Preparation and filing of any petition, schedule, statement of affairs, and other documents
        required by the court;

c)      Representation of the debtor at the meeting of creditors, confirmation hearing and any
        adjourned hearings thereof;

d)      Representation of the debtor in adversary proceedings and other contested bankruptcy
        matters;

e)      Additional fees to be approved by the Bankruptcy Court;

6.     By agreement with the debtor, the above-disclosed fee does not include the following
services:

     Not applicable

                                         CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or agreements for payment
to me for representation of the debtor in this bankruptcy proceeding.

        Dated: September 19, 2019                     HENDREN, REDWINE & MALONE, PLLC

                                                      s/Rebecca F. Redwine
                                                      Jason L. Hendren
                                                      NC State Bar No.: 26869
                                                      Rebecca F. Redwine
                                                      NC State Bar No.: 37012
                                                      Benjamin E.F.B. Waller
                                                      NC State Bar No.: 27680
                                                      4600 Marriott Drive, Suite 150
                                                      Raleigh, NC 27612
                                                      Telephone: (919) 420-7867
                                                      Facsimile: (919) 420-0475
                                                      Email: jhendren@hendrenmalone.com
                                                      Email: rredwine@hendrenmalone.com
                                                      Email: bwaller@hendrenmalone.com
                                                      ATTORNEYS FOR DEBTOR
